Case 5:19-cr-00213-JGB Document 17 Filed 06/27/19 Page 1of1 Page ID #:56

 

 

 

 

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UNITED STATES DISTRICT COURT curse us. bl a
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CENTRAL DISTRICT OF CALIFORNIA GENTR AL Dist "OF CALIF
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CASE NUMBER: ae a
UNITED STATES OF AMERICA , ey ~p~ wy)
. “ planter} ED CR19-00213 ~ JOB ~ [
REPORT COMMENCING CRIMINAL
Sparkle Shorale Nelson ~ :
, 1B340-\I2 ACTION
USMS# DEFENDANT

 

TO: CLERK'S OFFICE, U.S. DISTRICT COURT

All areas must be completed. Any area not applicable or unknown should indicate "N/A".

1.

2.

10.

Ii.

12.

. Interpreter Required: [XYNo [Yes Language:

.Remarks (if any):

; * gitbe oz
Date and time of arrest: du Nb 21, BI 6 ° (A AM [)-PM
The above named defendant is currently hospitalized and cannot be transported to court for arraignment or
any other preliminary proceeding: [7] Yes IN 0 .

Defendant is in U.S. Marshals Service lock-up (in this court building): [Ww Yes [1 No

Charges under which defendant has been booked:
18 USC 1349 Conspiracy; 18 USC 1341 Mail Fraud; 18 USC 1343 Wire Fraud; 18 USC 1028A(a)(1)
Aggraved Identy Theft; 20 USC 1097(a) Financial Aid Fraud; and 18 USC 2 Aiding and Abetting

Offense chargedisa: [XKFelony | Minor Offense (J Petty Offense [-] Other Misdemeanor

 

Year of Birth: 1987

Defendant has retained counsel: Lyro
(| Yes Name:

‘Phone Number: |

 

Name of Pretrial Services Officer notified: J. Rook 44¢ €
Name: (4 L¢N N oRIMse 7: (please print)

Office Phone Number: 6L6 =A 72. =5 y 1 13. Agency: U.S. Postal Inspection Service

 

14. Signature: SEE, 15, Date: June 27, 2019

CR-64 (05/18)

REPORT COMMENCING CRIMINAL ACTION

 
